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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

McALLEN DIVISION
UNITED STATES OF AMERICA §
v. : Criminal No. M-21-911-S2
RENE FUENTES, JR. ;

NOTICE OF PLEA AGREEMENT
COMES NOW the United States of America, hereinafter referred to as "the Government,"
by and through its United States Attorney for the Southern District of Texas and its Assistant
United States Attorney assigned to this matter, and would respectfully show the Court that the
Government and the Defendant have entered into the following plea agreement:
1. Defendant agrees to plead guilty to the Criminal Information.
2. The Government will recommend:

a. that the offense level decrease by 2 levels pursuant to U.S.S.G. § 3E1.1(a)
if the defendant clearly demonstrates acceptance of responsibility; and

b, that the remaining count of the Superseding Indictment be dismissed at the
time of sentencing.

If the Defendant is not a citizen of the United States of America, a plea of guilty may
result in removal from the United States, denial of citizenship and denial of admission to the
United States in the future. Ifthe Defendant is a naturalized United States citizen, a plea of
guilty may result in denaturalization.

This document states the complete and only Plea Agreement between the United States of
America and the Defendant, and is binding only on the parties to this Agreement, and it
supersedes all prior understandings, if any, whether written or oral, and cannot be modified other
than in writing and signed by all parties or on the record in Court. No other promises or
inducements have been or will be made to the Defendant in connection with this case, nor have

any promises or threats been made in connection with this plea.
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ACKNOWLEDGMENTS:
Ihave read this agreement and carefully reviewed every part of it with my attorney. If]
have difficulty understanding the English language, I have had a person fluent in the Spanish
language interpret this agreement to me.

I TZ 3 Defendant: fo

Date: ”

 

Tam the Defendant's counsel. I have carefully reviewed every part of this agreement
with the Defendant. I certify that this agreement has been translated to my client by a person
fluent in the Spanish language if my client is unable to read or has difficulty understanding the

English language,

Date: ]-20- 1023

 

Counsel for Ibéfense

For the United States of America:

ALAMDAR S, HAMDANI
United States Attorney

WHA

Robert L. Guerra, Jr,
Assistant United States Attorney

 

 

Assistant United States Attorney in Charge

 
